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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

STEVE PAPPAS, et al.,                            :
                                                 :
       Plaintiffs,                               :      Civil Action No.:      19-2800 (RC)
                                                 :
       v.                                        :
                                                 :
DISTRICT OF COLUMBIA, et al.,                    :
                                                 :
       Defendants.                               :

                                    SCHEDULING ORDER

       Upon consideration of the parties’ Joint Motion to Clarify the Scheduling Order (ECF

No. 35), it is hereby ORDERED that the following class discovery schedule shall govern

proceedings in this case:

            1. class discovery commenced on April 5, 2021, and non-expert class discovery will

               close on September 30, 2021;

            2. initial interrogatories must be served by June 1, 2021, and all subsequent

               interrogatories must be served no later than 30 days before the close of non-expert

               class discovery on September 30, 2021;

            3. initial requests for production of documents must be served by June 1, 2021, and

               all subsequent requests for production of documents must be served no later than

               30 days before the close of non-expert class discovery on September 30, 2021;

            4. requests for admission must be served no later than 30 days before the close of

               non-expert class discovery on September 30, 2021;

            5. Plaintiffs’ class expert disclosures must be served by September 30, 2021;

            6. Defendants’ rebuttal class expert disclosures must be served by November 1,

               2021;
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           7. expert depositions must be completed by December 1, 2021;

           8. Plaintiffs are to file their Motion for Class Certification on or before January 17,

               2022;

           9. Defendants are to file their Opposition to Class Certification on or before

               February 14, 2022;

           10. Plaintiffs are to file a Reply ISO Motion for Class Certification on or before

               February 28, 2022; and

           11. the parties shall appear for a hearing on the Class Certification Motion before the

               Court on March 14, 2022 at 10:00 am in Courtroom 23.

       It is FURTHER ORDERED that, before bringing a discovery dispute to the Court’s

attention, the parties must meet and confer in good faith in an attempt to resolve the dispute

informally. If the parties are unable to resolve the dispute, they must contact chambers to

arrange for a telephonic conference with the Court. The parties must obtain leave of the Court

before filing any motion relating to a discovery dispute. Any discovery motions that are filed

prior to obtaining such leave may be summarily denied for failure to comply with this order.

       SO ORDERED.


Dated: May 7, 2021                                                 RUDOLPH CONTRERAS
                                                                   United States District Judge




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